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Does Density Aggravate the
COVID-19 Pandemic?
Early Findings and Lessons for Planners
Shima Hamidi             Sadegh Sabouri              Reid Ewing

   ABSTRACT
   Problem, research strategy, and findings: The impact of density on emerging highly contagious infec-
   tious diseases has rarely been studied. In theory, dense areas lead to more face-to-face interaction
   among residents, which makes them potential hotspots for the rapid spread of pandemics. On the other
   hand, dense areas may have better access to health care facilities and greater implementation of social
   distancing policies and practices. The current COVID-19 pandemic is a perfect case study to investigate
   these relationships. Our study uses structural equation modeling to account for both direct and indirect
   impacts of density on the COVID-19 infection and mortality rates for 913 U.S. metropolitan counties, con-
   trolling for key confounding factors. We find metropolitan population to be one of the most significant
   predictors of infection rates; larger metropolitan areas have higher infection and higher mortality rates.
   We also find that after controlling for metropolitan population, county density is not significantly related
   to the infection rate, possibly due to more adherence to social distancing guidelines. However, counties
   with higher densities have significantly lower virus-related mortality rates than do counties with lower den-
   sities, possibly due to superior health care systems.
   Takeaway for practice: These findings suggest that connectivity matters more than density in the spread
   of the COVID-19 pandemic. Large metropolitan areas with a higher number of counties tightly linked
   together through economic, social, and commuting relationships are the most vulnerable to the pan-
   demic outbreaks. They are more likely to exchange tourists and businesspeople within themselves and
   with other parts, thus increasing the risk of cross-border infections. Our study concludes with a key rec-
   ommendation that planners continue to advocate dense development for a host of reasons, including
   lower death rates due to infectious diseases like COVID-19.
   Keywords: COVID-19, density, infectious diseases, pandemic, urban sprawl




T
          he COVID-19 pandemic is a perfect case study             been particularly devastating to America’s biggest cities,
          to investigate the relationship between density          as the virus has found fertile ground in the density that
          and the spread of highly contagious infectious           is otherwise prized.” In fact, metropolitan population
          diseases. This novel coronavirus outbreak was            and county density are distinct. The New York metropol-
first recorded in Wuhan (China) in December 2019                   itan area (the epicenter of the virus) is huge but has
(Cascella et al., 2020). In less than 4 months, it has             low-density counties as well as high-density counties.
spread to more than 212 countries and territories
                                                                   The virus may take root in the city center but then
around the world and was declared a pandemic by the
                                                                   spread into the suburbs due to the inextricable connec-
World Health Organization (WHO) on March 11, 2020
                                                                   tions between them.
(WHO, 2020). As of May 27, there are more than
                                                                        Even in smaller metropolitan statistical areas (MSAs)
1,697,459 confirmed cases of COVID-19 in the United
                                                                   like New Orleans (LA), which is 1/20th the size of the New
States, with 100,271 confirmed COVID-19-related deaths.
      On April 23, 2020, the New York Times published an           York MSA and has eight counties with widely varying
article titled, “America’s Biggest Cities Were Already             densities, densities vary much more than confirmed infec-
Losing Their Allure. What Happens Next?” (Tavernise &              tion rates. The simple correlation between the two is just
Mervosh, 2020). The article confounds population size              over 0.48, meaning that for this metropolitan area, density
with density, as in this passage: “The pandemic has                accounts for only 23% of the variation in the virus rate.

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      On May 2, CNN published “Coronavirus Is Making                 and exposure is not a straight line. Dense areas may be
Some People Rethink Where They Want to Live,” which                  more likely to put in place policies that foster social dis-
described an exodus from New York for smaller and less               tancing, thus reducing actual rates of infection or simply
dense places (Shoichet & Jones, 2020). The article                   leading to greater social distancing due to greater public
quoted the governor’s explanation: “It’s very simple. It’s           awareness of the threat. In addition, it is possible that
about density. It’s about the number of people in a                  denser environments make it easier for people to stay
small geographic location allowing that virus to                     somewhat connected with neighbors, families, and
spread. … Dense environments are its feeding                         friends while they are sheltering in place.
grounds.” The article then quoted an academic from the                    There is little empirical evidence related to this the-
Los Angeles area as crediting that city’s “sprawling”                ory. Spencer et al. (2020) finds that a nonlinear and
development with slowing the spread of coronavirus.                  Kuznets-shaped urban transition could increase the likeli-
      As these examples illustrate, compactness (mainly              hood of recurring outbreaks of infectious diseases such as
density) versus sprawl is one of the most controversial              avian influenza in Vietnam due to limited household-level
topics in urban planning. In a recent review article, two of         sanitation infrastructure. However, it is not clear whether
us (Ewing & Hamidi, 2015a) summarize existing evidence               and to what extent dense development could exacerbate
on major costs and benefits of urban sprawl. Many scholars           the spread of life-threatening infectious diseases.
have pointed to the benefits of compact development for                   Our study is to our knowledge the first peer-
individuals and society. According to this line of research,         reviewed publication to investigate the relationship
compact development is associated with open space pres-              between density and the COVID-19 spread and mortality
ervation (Nelson & Sanchez, 2005), higher innovation and             in the United States, controlling for confounding factors.
overall economic productivity (Hamidi & Zandiatashbar,               This is a perfect example of the application of structural
2019), more opportunities for upward mobility (Ewing                 equation modeling, as explained in the Conceptual
et al., 2016), greater social capital (Nguyen, 2010), less likeli-   Framework and Research Design section. Our outcome
hood of obesity and related chronic diseases (Ewing et al.,          variables are COVID-19 confirmed cases and deaths per
2014), less car dependency and its associated quality of life        10,000 population. We find metropolitan population to
outcomes such as traffic congestion (Zolnik, 2011),                  be one of the most significant predictors of infection
improved traffic safety (Ewing & Hamidi, 2015b; Ewing                rates, with larger metropolitan areas experiencing higher
et al., 2016), improved air quality (Stone, 2008), and               infection and higher mortality rates. We also find that
increased overall life expectancy (Hamidi et al., 2018).             after controlling for metropolitan population, county
      Urban sprawl, on the other hand, could mitigate                density is unrelated to the infection rate and negatively
racial segregation and close the gap between rates of
                                                                     related to the mortality rate, possibly due to greater
suburban homeownership for African Americans and
                                                                     adherence to social distancing policies and practices in
Whites (Galster & Cutsinger, 2007; M. Kahn, 2001). During
                                                                     denser areas and better quality of health care.
the Cold War, dispersal of population was frequently
                                                                          These findings suggest that connectivity matters
mentioned as a countermeasure to a nuclear attack
                                                                     more than density in the spread of the COVID-19 pan-
(Kargon & Molella, 2004). After 9/11, similar arguments
                                                                     demic. Large metropolitan areas (and megaregions)
were occasionally put forth as a means of making us less
                                                                     with a higher number of counties tightly linked
vulnerable to terrorist attacks (Briffault, 2002; Glaeser &
                                                                     together through economic, social, and commuting
Shapiro, 2002). Though the mechanism is different, the
                                                                     relationships are the most vulnerable to the pandemic
purpose is the same as with infectious diseases: Self-pro-
                                                                     outbreak. They are more likely to exchange tourists and
tection may accompany dispersal of population.
                                                                     businesspeople with each other and with other parts of
      Yet, the impact of density on emerging infectious dis-
                                                                     the world, thus increasing the risk of cross-border infec-
eases has been rarely studied. In theory, density leads to
closer contact and more interaction among residents,                 tions. Our study concludes with a strong recommenda-
which makes them potential hotspots for the rapid                    tion that planners continue to advocate compact
spread of emerging infectious diseases. In the case of               development for a host of reasons, including lower
worldwide pandemics such as the recent COVID-19 virus,               death rates due to infectious diseases like COVID-19.
larger, dense urban centers, particularly if coupled with
strong tourism, could become epicenters of a worldwide
health crisis and lead to thousands of deaths in the                 Built Environment, Urban Sprawl, and
United States and internationally. At the same time, their           Highly Contagious Infectious Diseases
superior health and educational systems could help miti-             Compact development has been empirically linked to
gate the full impact of the disease for those who are                higher economic productivity and likelihood of innov-
infected, leading to higher rates of recovery and lower              ation generation by facilitating the formation of an
rates of mortality. Even the relationship between density            urban buzz that hosts the frequent face-to-face contacts,
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leading to higher chances of knowledge spillover and,             intervention at the time of a disease epidemic (Kumar
in turn, higher knowledge-based economic productivity             et al., 2012). Lower educational attainment is also
(Hamidi et al., 2019; Zandiatashbar et al., 2019).                reported to increase the rate of hospitalization at the
      For the same reasons, dense areas could also facili-        time of epidemics, such as the 2009 H1N1 (Lowcock
tate the transmission of highly contagious diseases. If           et al., 2012). Finally, age is a determinant of vulnerability
people are close enough to each other to exchange                 to novel viruses and the severity of the disease once
ideas, they can exchange highly contagious diseases,              developed due to weakened immune systems among
too, at least in theory (Glaeser, 2011). The empirical evi-       older populations. In the case of COVID-19, as of March
dence to support this theory is rare and offers                   18, about 80% of deaths in the United States were
mixed findings.                                                   among those 65 years and older (Centers for Disease
      According to Kao et al. (2012), the H1N1 pandemic           Control and Prevention [CDC], 2020b).
of 2009 persisted for a relatively longer period of time in             Travel and tourism are other key contributors to the
areas in Taiwan with higher population density. In the            emergence of pandemics in the United States and inter-
same line, Garrett (2010) finds a positive and significant        nationally (Neiderud, 2015). Epidemics spread through
relationship between the death rate from the 1918                 major travel destinations in both compact and sprawl-
influenza pandemic and the state-level population                 ing cities (Alirol et al., 2011). SARS, for instance, emerg-
density in the United States. On the other hand,                  ing as a pandemic in 2003, originated from the wildlife
Chowell et al. (2008) and Nishiura and Chowell (2008)             markets in Guangdong (China) and spread rapidly
find quite the opposite: There is no significant relation-        throughout the world with international travel (WHO,
ship between population density, degree of transmissi-            2007). Another example is the Ebola virus disease out-
bility, and mortality during the same 1918 pandemic in            break in 2014 in Western Africa. Guinea and Sierra
the United Kingdom and Japan, respectively. In the                Leone were the centers of this regional epidemic due
same line, Mills et al. (2004), in their letter to Nature,        to high connectivity and substantial cross-border traffic,
state there are no significant associations between mor-          even though 64% and 60% of their populations were
tality rate and population density during the 1918 influ-         living in low-density rural areas (WHO, 2014). Global
enza pandemic in 45 large U.S. cities, whereas Parmet             travel is only expected to expand, and research points
and Rothstein (2018), in an editorial piece in the                to the role of governments and organizations such as
American Journal of Public Health, argue that if we look          WHO to be fast and efficient in taking necessary pre-
at the rates rather than counts during the 1918 pan-              ventive measures before the epidemic gets out of con-
demic, rural/low-density areas were hit harder than the           trol (Neiderud, 2015).
cities with lower mortality rates.                                      Finally, the most effective way to slow the spread
      One possible explanation for these conflicting find-        of highly contagious diseases is to minimize human-to-
ings is that the dynamics behind a pandemic spread are            human contact through different measures of social
highly complex. There are several other variables that            distancing. Social distancing can be implemented by
could potentially confound contagious disease trans-              governments at the local and state levels through one
mission, including demographic characteristics (Valeri            or a combination of interventions, including the closure
et al., 2016), socioeconomic disparities (Quinn & Kumar,          of schools, bars, restaurants, and any social or sporting
2014), and tourism (Alirol et al., 2011).                         events; sick leave; work-from-home policies; splitting
      Sociodemographic characteristics and social inequi-         shifts to reduce workplace interactions; sheltering in
ties could contribute to a faster spread of infectious dis-       place; and travel/trade bans (Chu et al., 2017). These
eases, but also could prevent access to health care,              interventions are critical to stopping the disease’s out-
which consequently leads to substantially higher rates            break, but quick and efficient actions by local, state, and
of mortality. Quinn, Kumar, and colleagues                        federal governments at early stages before the epi-
(Blumenshine et al., 2008; Quinn & Kumar, 2014; Quinn             demic gets out of control are even more critical (Katz
et al., 2011), in a series of studies, point to the significant   et al., 2019). This is another source of spatial variation of
roles of income, race, and ethnicity in higher rates of           the disease spread because state and local govern-
H1N1 infection and mortality. Low-income and minority             ments across the United States take different actions at
populations have higher exposure to contagious dis-               different times, which could make a difference in dis-
eases such as flu virus and have lower access to health           ease outcomes.
care once the disease has developed, which is a key                     These factors could be applied to both compact
determinant of infectious disparities between and                 and sprawling areas, which makes any theoretical con-
within U.S. regions. Their higher level of exposure is due        clusion about the role of density in disease pandemic
to the lack of access to resources such as workplace pol-         complex and unclear. Still, the role of density in the
icies, paid sick days, and job security that would enable         spread and severity of highly contagious diseases has
social distancing, the single most effective preventive           not been rigorously studied. Our study seeks to address
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this gap and investigate the relationship between dens-          and improve the model’s goodness of fit. Basically, varia-
ity and the spread and deadliness of COVID-19 in the             bles were included in the model and causal links were
United States. We use the term COVID-19 to refer to              added if one of two conditions were met: Variables and
both the virus itself and the disease it causes.1                relationships were either theoretically or statistically
                                                                 significant.
                                                                      The county is the unit of analysis in this study. This
Conceptual Framework and                                         is the smallest geographic unit for which consistent
Research Design                                                  virus infection and death data are available and is cer-
Our outcome variables are the rates of COVID-19 con-             tainly less likely to suffer from aggregation bias than
firmed cases and mortality per 10,000 population. There          would an analysis at the state or metropolitan area level.
are mediating variables between density and COVID-19             Virus spread occurs with people’s interactions and
mortality rates, such as infection rates and hospitaliza-        movements, and peoples’ movements (travel) typically
tion rates. There are confounding influences, such as            extend beyond their immediate neighborhoods. Data
the age distribution and income levels. There are mod-           from the National Household Travel Survey (U.S.
erating influences, such as the number of intensive care         Department of Transportation, 2017) show that about
unit (ICU) beds per capita, that affect the probabilities of     87% of daily trips in the United States take place in per-
infections becoming fatal. The selection of explanatory          sonal vehicles, and the average driver drives about 29
variables to predict the two outcome variables is based          miles per day. County is the best geographical unit to
on common sense, theory, and early reports on the inci-          capture the virus spread as the outcome of these move-
dence of the virus (CDC, 2020b). Different variables are         ments. Density could also be related to the pandemic
tested for significance as predictors of the virus rate and      spread in smaller geographies such as the density of
mortality rate, whereas our final model only includes            occupants in living units, which could be the subject of
                                                                 future studies once COVID-19 data are available for
the independent variables that have a statistically sig-
                                                                 smaller spatial units. Finally, we tested the possibility of
nificant relationship to the outcome variables. Table 1
                                                                 spatial dependence among cases, or spatial autocorrel-
presents the definition and descriptive statistics for all
                                                                 ation, and found no significant evidence on the spatial
variables investigated in our model. We understand that
                                                                 clustering of cases (see Technical Appendix 1).
rates of infection and mortality are recorded at the indi-
vidual’s place of residence, not at the place of occur-
rence. Thus, we would expect a direct casual pathway             Outcome Variables
from county-level measures of density to county-level            Our outcome variables are the natural log of confirmed
measures of COVID-19 mortality. Our hypothesis is that           cases of coronavirus per 10,000 population and natural
denser counties have better health care infrastructure           log of confirmed deaths per 10,000 population due to
that is more prepared to respond to the pandemic and             COVID-19, both at the county level. An infection is con-
thus reduce the severity and mortality rate of the pan-          firmed when an individual tests positive for the virus
demic. We also expect an indirect causal pathway from            using an approved test administered and reported by a
density to the COVID-19 mortality rates. Our conceptual          health professional. A death is confirmed when an indi-
framework is based on the hypothesis that density leads          vidual who has tested positive for the virus dies of a
to more exposure to the virus and more exposure leads            complication or, in some counties, has COVID symp-
to higher rates of infection, which, in turn, results in         toms and dies of a complication. We use rates and SEM
higher rates of mortality, controlling for other variables.      with linear regression models because the number of
     The complex causal chain described above is best            cases of the virus now far exceeds the “rare event” cri-
modeled with structural equation modeling (SEM).                 terion of count models such as Poisson regression and
Using SEM analysis, we can investigate the relationship          negative binomial regression.
between county density and COVID-19 mortality rates,                   According to the CDC Portal (CDC, 2020c), the
both directly and indirectly, via COVID-19 infection rates       highest infection counts since the beginning of the
as the mediator. For more detailed explanation of SEM,           pandemic in the United States occurred on April 6,
please see Technical Appendix 1. The SEM model in this           2020. Since April 21, we have observed an overall
study was estimated for a total of 913 metropolitan              decreasing trend in COVID-19-related deaths. These
counties with no missing data as of May 25, 2020, using          trends show signs of flattening of the pandemic curve
Amos 22 software. Technical Appendix 2 shows the                 (for the first wave). We performed sensitivity analyses by
location of these metropolitan counties in the United            estimating the models multiple times since March 23
States. Working with complete data sets allowed us to            with updated COVID-19 data and obtained very similar
compute modification indices, which, in turn, allowed            results in terms of the signs and relative magnitudes of
us to identify and include missing links in the model            the relationships.
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Table 1. Variables used to explain COVID-19 per capita death rate (N ¼ 913).
                                        Description                    Mean         SD                  Source
Outcome variables
  Death rate                   No. deaths per 10,000                    2.12        3.15      Dong et al. (2020)
                                 population as of May 25
  ln of death rate             Natural log of no. deaths per           0.02       1.26
                                 10,000 as of May 25
  Virus rate                   No. COVID-19 cases per                  42.91       77.48
                                 10,000 population as of
                                 May 25
  ln of virus rate             Natural log of no. COVID-19              3.21       0.98
                                 cases per 10,000 as of
                                 May 25
Explanatory variables
  Days since first case        No. days since the first case           68.94        8.78      Dong et al. (2020)
                                 was confirmed
  Activity density             Population þ employment per              907        2,387      ACS 5-year estimates (U.S.
                                 square mile                                                    Census Bureau, 2020a) and
                                                                                                LEHD (U.S. Census Bureau,
                                                                                                2020b) for 2017
  ln of activity density       Natural log of activity density          5.78        1.37      ACS 5-year estimates (U.S.
                                 (population þ employment                                       Census Bureau, 2020a) and
                                 per square mile                                                LEHD (U.S. Census Bureau,
                                                                                                2020b) for 2017
  Metropolitan population      MSA population                         2,027,153   3,481,763   ACS 5-year estimates (U.S.
                                                                                              Census Bureau, 2020a)
  ln of                        Natural log of                          13.54       1.40
   metropolitan population       MSA population
  % of Black population        % of Black or African                   12.49       14.15
                                 American race
  % of college-                % of adult population with              57.44       10.44
  educated population            some education beyond
                                 high school
  % of population aged         % of population aged 60                 21.73       4.69
  60 þ                           years and over
  Primary care                 Primary care physicians per              6.54        3.57      County Health Rankings
  physician rate                  10,000 population                                           (University of Wisconsin
                                                                                              Population Health
  % of adults                  % of adults that reported               16.61       3.13
                                                                                              Institute, 2020)
  currently smoking              currently smoking
  Air pollution                Average daily amount of fine             9.93       1.66
                                 particulate matter in
                                 micrograms per cubic
                                 meter (PM2.5)
  ICU beds rate                ICU beds per                             2.04        2.09      Kaiser Health News (2019)
                                  10,000 population
  COVID-19 testing rate        Statewide number of COVID-              437.45      157.26     The COVID Tracking
                                  19 testing per 10,000                                         Project (2020)
  Enplanements rate            Annual enplanements in                  21,102      25,557     Federal Aviation
                                 metropolitan area per                                          Administration (2018)
                                 10,000 population
  % Staying at home            Average % of population                 27.23        5.49      Maryland Transportation
                                 staying at home (i.e., no                                      Institute (2020)
                                 trips with a non-home trip
                                 end more than 1 mile away
                                 from home) since the first
                                 case was confirmed until
                                 May 25
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     We log-transformed both outcome variables to make         Employer–Household Dynamics (LEHD) 2017; both
them closer to normal distributions because both of            data sources are compiled and released by the U.S.
them vary exponentially (see Technical Appendix 3). As a       Census Bureau (2020a, 2020b).
result, 252 counties from our sample of 1,165 counties               Activity density is distinct from crowding or over-
were eliminated when we logged the death rate, the             crowding. Crowding is defined as a large number of per-
downstream outcome variable in our structural equation         sons gathered closely together. Even at high activity
model. However, it improved the model’s goodness of fit.       densities, crowding is confined to specific venues such as
Note that we estimated a model with New York City and          transit vehicles, bars and restaurants, schools, sports events,
New York State in our main analysis but dropped them           airports, downtown sidewalks, and so forth. Elsewhere
from the sample in a sensitivity analysis in Technical         (and even in these settings), people can maintain and usu-
Appendix 4. Our rationale for dropping these cases in the      ally do maintain some social distance in their desire to
Appendix is one of face validity. This one city and one        maintain personal space. Notwithstanding evening news
state contributed to 23% and 32%, respectively, of the         reports of crowding on beaches and at protest events, we
total COVID-19 deaths in our data set.                         suspect crowding is the exception in this period of social
                                                               distancing. Moreover, by this definition, crowding may
                                                               occur even at low activity densities at all of the venues
Explanatory Variables                                          listed above. We did test one formal measure of crowding,
Our explanatory variables control for the major determi-       the percentage of households with more than one person
nants of a pandemic outbreak, such as socioeconomic            per room from the ACS, and found it has no relationship
characteristics, health care facilities, county density, and   to the virus rate. Instead, we include in our model a spe-
metropolitan population size. Explanatory variables            cific measure of social distancing, “staying at home,” which
came from various sources. We downloaded data on               is defined as not having any home-based trip that is more
population, sex, age, and race/ethnicity from the              than 1 mile away from the place of residence.
American Community Survey (ACS) 2017 (5-year esti-                   Our model includes two measures of connectivity
mates) and computed percentage of the population               to account for the degree of connectivity between
that is Black, percentage of adults with some education        counties in the same region (internal connectivity) and
beyond high school, and the natural log of metropol-           the degree of connectivity to the outside world (exter-
itan population. We also tested the number of days             nal connectivity). Both measures slightly correlate with
since the first positive test was confirmed in each            activity density, with correlation coefficients of 0.327
county. The data again come from the Novel                     and 0.128, respectively. We cast metropolitan size
Coronavirus Visual Dashboard developed by Johns                measured in terms of population as a measure of con-
Hopkins University (Dong et al., 2020). The first reported     nectivity of counties within the metropolitan area. This
coronavirus case in the United States was in King              aligns with the definition of metropolitan areas.
County (WA) on January 22, 2020.                               According to the U.S. Census Bureau, a metropolitan
     Our analyses control for a number of variables            area consists of a densely populated urban core and
related to health care facilities. We obtained these vari-     surrounding counties that are economically and
ables from County Health Rankings and Roadmaps,                socially linked to each other and the core (U.S. Census
which is a collaboration between the Robert Wood               Bureau, n.d.). Metropolitan population is a regional
Johnson Foundation and the University of Wisconsin             variable that accounts for the context of counties
Population Health Institute (2020). From the same data         beyond their boundaries and as a proxy for counties’
source, we obtained the county-level average daily             social, economic, and commuting relationships with
concentration of fine particulate matter (PM2.5) as our        the neighboring counties within the same metropol-
measure of air pollution. In addition, we tested the           itan area. Metropolitan population has been used in
number of ICU beds per 10,000 population from a                several previous county-level studies to capture higher
Kaiser Health News (2019) analysis of hospital cost            needs for travel (and commuting) between counties in
reports filed with the Centers for Medicare &                  the same metropolitan area and also longer trips
Medicaid Services.                                             (vehicle miles traveled) in studying outcomes such as
     The explanatory variable of greatest interest is a        traffic fatalities, air quality, and life expectancy (e.g.,
measure of county compactness. We summed the                   Ewing et al., 2016; Hamidi et al., 2018).
county population and employment and divided it by                   Per a suggestion from an anonymous reviewer, we
the land area to obtain activity density that accounts         came up with a more direct measure of connectivity for
for both employment and population concentrations              metropolitan areas. Using the Smart Location Database
in the county. The county population data come from            of the U.S. Environmental Protection Agency (U.S. EPA
the ACS 2017 (5-year estimates), and the county                Smart Growth Program, 2020), we computed a measure
employment data come from the Longitudinal                     of destination accessibility for all metropolitan areas in
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our sample. The measure is the average number of jobs        rapidly evolving situation, and the number of deaths
accessible within a 45-min travel time by automobile in      and infections grow by the day. As our title says, this
2010. This covers work and nonwork trip accessibility: A     study presents early findings. Although we have
grocery store’s employees, for example, would be             observed consistent signs and magnitudes of relation-
included in the total jobs reachable within that travel      ships between variables in our modeling between
time. The simple correlation between this variable and       March 23 and May 25, more research is needed to
metropolitan population size is 0.95. The Smart Location     investigate the reliability of these findings over time. In
Database uses data that are now 10 years old, which is       the same line, we recommend a longitude time-series
one reason for using metropolitan population as a            analysis to explore the impact of density on the pan-
proxy for connectivity within a metropolitan area            demic growth curves of different counties.
instead of the more direct measure. The other reason is            Second, although the measure of COVID-19 death
that connections may take many forms not captured by         rates is fairly straightforward, the number of confirmed
job accessibility. For example, a social–recreational trip   infections largely depends on the number of individuals
or a phone call to a friend or business associate that       being tested; currently, there is a nationwide shortage
ultimately ends with face-to-face contact is not well rep-   of testing capacity. As a result, clinicians follow CDC
resented by job accessibility metrics.                       guidelines on how to “prioritize” testing patients with
     We also account for the degree of connectivity to       COVID-19 symptoms (CDC, 2020a). We only had access
the outside world using annual enplanements per              to the statewide testing rate, which we include in our
10,000 population. The raw data for passenger (enplane-
                                                             models. There are likely to be local variations in the rate
ment) rate comes from the Air Carrier Activity
                                                             of testing that will have to be captured in future studies
Information System, a Federal Aviation Administration
                                                             once data are available at the local level. In addition,
(2018) database that contains revenue passenger board-
                                                             increasing testing capacity will allow clinicians to con-
ing data. We summed enplanements at all commercial
                                                             duct COVID-19 testing for a wider group of patients.
service airports within a metropolitan area and com-
                                                             Parenthetically, there are reports that some people
puted the rate per 10,000 population.
                                                             dying at home may have the virus but are not counted
     In addition, our model controls for the level of
adherence to social distancing advisories by including       in the official totals. We therefore acknowledge this as
a variable that measures the average percentage of           another possible limitation but are unclear about its
the population staying at home since the first case          effects on our results. That is, it is unclear whether
was confirmed in each county. This variable is devel-        deaths are more likely to be undercounted in
oped and reported on a daily basis by the University         dense areas.
of Maryland based on location data from multiple                   Third, the sample in this study is limited to U.S.
sources such as smartphones and vehicle sensors to           metropolitan counties and therefore our findings are
capture person and vehicle movements. More informa-          not generalizable to other counties. More than 75% of
tion is available via the University of Maryland’s           metropolitan counties are urban and thus our sample is
COVID-19 Impact Analysis Platform (Maryland                  more representative of urban and suburban counties
Transportation Institute, 2020).                             and less representative of rural counties. By 2010, 84%
     Finally, we developed a measure of the COVID-19         of the U.S. population lived in metropolitan areas. We
testing rate to account for testing availability. We col-    further acknowledge a potential urban bias by our inclu-
lected the total number of people tested for COVID-19        sion only of counties with one or more COVID-related
in each state from the COVID Tracking Project (CTP,          deaths (see Technical Appendix 3).
2020) website and computed the testing rate per                    Fourth, the dynamic of pandemic spread and mor-
10,000 population. Note that these data are only avail-      tality is complex, and there are potential contributing
able at the state level. For most states, CTP obtains the    factors that are not accounted for in this study due to
data directly from state public health authorities. For a    the lack of data availability. Health-related pre-existing
few states such as California and New York, where state-     conditions such as obesity, diabetes, asthma, cardiovas-
wide information is not available, the CTP is using other    cular disease, and hypertension most likely contribute
reporting tools such as trusted news sources, interview-     to the severity of COVID-19 (CDC, 2020b) and should be
ing officials, and news conferences. Because testing is      studied at a finer geographic scale and with a sub-
usually a statewide function, we expect more variation       sample of patients. Pre-existing condition data at the
between states than within states.                           county level are largely modeled variables based on the
                                                             raw data from health surveys, with income and other
Data and Methodological Limitations                          socioeconomic characteristics used as part of the mod-
We acknowledge four limitations related to the data          eling. It is for this reason that they were not included in
and methodology. First, the COVID-19 pandemic is a           our models. Many other variables for which we do have
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 Table 2. Pearson correlation between explanatory variables and confirmed virus and death rates.
                                                   Virus rate                         ln of virus rate                   Death rate            ln of death rate
 Days since first case                                0.054                                 0.185                         0.162                    0.135
 Activity density                                     0.204                                0.270                             0.364              0.235
 ln of activity density                               0.125                                0.280                             0.233              0.196
 MSA population                                       0.285                                0.352                             0.454              0.322
 ln of MSA population                                 0.152                                0.255                             0.257              0.250
 % of Black population                                0.151                                0.318                             0.221              0.235
 % of college educated                              0.098                               0.015                                0.029              0.038
 % of smokers                                         0.027                               0.032                                0.048              0.018
 Air pollution                                      0.018                                   0.046                              0.021                0.027
 Primary care physicians rate                       0.008                                   0.065                               0.088              0.069
 ICU bed rate                                       0.040                                <0.001                                0.049              0.055
 % of population aged 60þ                           0.090                                0.174                              0.003                0.028
 Enplanement rate                                     0.043                                  0.086                             0.055                0.085
 % Staying at home                                    0.124                                0.275                             0.341              0.284
 COVID-19 test rate                                   0.247                                0.341                             0.408              0.327
Notes: Correlation is significant at the .05 level (two-tailed). Correlation is significant at the .01 level (two-tailed).


current data, such as transit ridership, could also con-                                    County Density, Metropolitan Population,
tribute to the spread of the virus (Harris, 2020).                                          and the COVID-19 Infection Rate
                                                                                            We begin with the variables of greatest interest:
                                                                                            county activity density and metropolitan area popula-
                                                                                            tion. Our findings indicate that the infection rate
The Role of Density in COVID-19                                                             increases with activity density, but the relationship is
Spread and Mortality Rates: Empirical                                                       not statistically significant. This runs counter to our ini-
Evidence From the National                                                                  tial expectations. One possible reason for the insignifi-
Investigation                                                                               cant relationship is that density plays two conflicting
Table 2 presents the correlation between each of the                                        roles, which could cancel each other out. On the one
explanatory variables and outcome (both logged and                                          hand, density increases contact with other people and
                                                                                            likelihood of transmission of diseases. On the other
unlogged) variables. The simple correlation between
                                                                                            hand, density could facilitate the implementation of
the natural logarithm of activity density and outcome
                                                                                            social distancing orders due to better home delivery
variables shows that higher density is correlated with
                                                                                            services and higher perceived susceptibility to the
higher infection and mortality rates (correlation coeffi-
                                                                                            threat and therefore more precautionary behaviors.
cients of 0.280 and 0.196, respectively). However, these
                                                                                            According to Gallup polls, residents of dense places
relationships change with the addition of confounding                                       are more likely to practice basic social distancing than
factors in the SEM model.                                                                   their counterparts in suburban and exurban areas
     Figure 1 shows the best fit model from our SEM                                         (Saad, 2020).
analysis. As explained in our conceptual framework, the                                           On the other hand, larger metropolitan areas have
density variable, socioeconomic factors, and the health                                     significantly higher rates of infection. In fact, metropol-
care infrastructure have direct paths to the COVID-19                                       itan population has one of the most significant relation-
death rate but also affect it indirectly through the                                        ships of all explanatory variables with the infection rate.
COVID-19 infection rate as the mediator. The best fit                                       Pandemics spread with the movement and interaction
model has an acceptable low chi-square relative to the                                      of people, and large metropolitan areas are where most
degrees of freedom and the insignificant (>.05) p value,                                    of these movements and interactions occur. Counties in
which are indicators of a good model fit. Table 3                                           metropolitan areas share transportation and commuting
presents the direct effects of explanatory variables on                                     patterns, or “movement of people,” between counties
outcome variables, and Table 4 presents the direct,                                         and within the metropolitan areas (Ratcliffe et al., 2016),
indirect, and total effects of county-level density and                                     which is an ideal situation for the spread of pandemics.
other variables on the COVID-19 death rate.                                                 These findings suggest the role of connectivity versus
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Figure 1. Causal path diagram for COVID-19 death rate in terms of county density and other variables (correlational arrows among
explanatory variables are not shown for the sake of simplicity and clarity).



density on the pandemic spread as a potential direction            compact or sprawling) that are superconnected are the
for future research.                                               incubators of pandemic outbreaks (Neiderud, 2015).
                                                                         Note that our model controls for two measures of
                                                                   connectivity: connectivity within the metropolitan area
County Density, Metropolitan Population,                           (with metropolitan population as a proxy) and connect-
and the COVID-19 Mortality Rate                                    ivity to the outside world (through the enplanement
We find that dense counties have significantly lower               rate). We find that counties with higher enplanement
death rates. This is possibly due to better health care            rates have significantly lower infection rates. This is
systems in dense counties. On the other hand, larger               unexpected. However, according to the literature and
metropolitan areas (measured in terms of population)               our data, the enplanement rate causes the pandemic to
have significantly higher COVID-19 death rates. These              reach globally connected cities more quickly. The rea-
results suggest that the pandemic outbreak is more                 son this does not necessarily lead to higher infection
about connectivity than density. The pandemic spread               rates could be that these cities adopted travel restriction
is facilitated more by the connectivity of a major urban           policies very early in the pandemic (Neiderud, 2015). In
hub to the surrounding geographic units than by the                other words, global connectivity may determine the
density of the hub (county in our study). This finding is          advent of the pandemic, but once travel restrictions
supported by the existing evidence on the major role of            have been adopted, infections due to international
connected cities in the spread of pandemics (Alirol                travel may drop off. Considering that this is a cross-
et al., 2011). The megacities and megaregions (either              sectional study and does not account for the changes
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 Table 3. Direct effects of density, socioeconomic, and health care characteristics on COVID-19 infection and mortal-
 ity rates.
 Variables                                                                Coefficient                  SE                Critical ratio               p Value
 ln of activity density ! ln of virus rate                                     0.005                 0.035                     0.159                      .874
 % of Black population ! ln of virus rate                                      0.018                 0.002                     8.716                    <.001
 % of population aged 60þ ! ln of virus rate                                 0.021                  0.006                   3.474                     <.001
 % of college-educated population ! ln of virus rate                         0.021                  0.004                   5.902                     <.001
 ln of MSA population ! ln of virus rate                                       0.135                 0.028                     4.81                     <.001
                                                                                                          4
 COVID-19 testing rate ! ln of virus rate                                      0.002                  2                        8.838                    <.001
                                                                                    6                    6
 Enplanement rate ! ln of virus rate                                          3                      1                      2.204                       .028
 % Staying at home ! ln of virus rate                                          0.056                 0.009                     6.276                    <.001
 % of smokers ! ln of death rate                                               0.021                 0.011                     1.847                      .065
 % of Black population ! ln of death rate                                      0.003                 0.002                     1.581                      .114
 ln of virus rate ! ln of death rate                                           0.974                 0.028                   35.391                     <.001
 % of population aged 60þ ! ln of death rate                                   0.048                 0.005                     8.958                    <.001
 ln of MSA population ! ln of death rate                                       0.087                 0.022                     4.033                    <.001
 ln of activity density ! ln of death rate                                   0.118                  0.058                   2.05                        .040
 ICU bed rate ! ln of death rate                                             0.029                  0.014                   2.043                       .041
 % Staying at home ! ln of death rate                                          0.044                 0.018                     2.371                      .018
Note: Analysis was restricted to counties without missing values. Chi-square ¼ 3.528; degrees of freedom ¼ 2; p value ¼ .171; root mean square error of approxima-
tion ¼ 0.029 (p value ¼ .698); comparative fit index ¼ 1.0.


             Table 4. Direct, indirect, and total effects of the county-level density and other variables on COVID-19
             mortality rate.
                                                                         Direct effect                 Indirect effect                 Total effect
             ln of activity density                                           0.118                            0.005                     0.113
             ln of MSA population                                               0.087                           0.132                       0.219
             Enplanement rate                                                   0                               36                        36
             COVID-19 testing rate                                              0                               0.002                       0.002
             % of population aged 60þ                                           0.048                          0.021                       0.028
             % of college-educated population                                   0                              0.020                     0.020
             % of Black or African American population                          0.003                           0.017                       0.021
             % of smokers                                                       0.021                           0                           0.021
             ICU bed rate                                                     0.029                            0                         0.029
             ln of virus rate                                                   0.974                           0                           0.974
             % Staying at home                                                  0.044                           0.055                       0.099



over time, we recommend future studies further investi-                              rates. Likewise, counties with a higher percentage of
gate these relationships over time though a longitudinal                             adults with some education beyond high school have
research design.                                                                     significantly lower COVID-19 infection rates.
                                                                                          These findings are consistent with the literature
                                                                                     that reports minorities are more likely to become
Other Determinants of the COVID-19                                                   infected during pandemics (Quinn & Kumar, 2014) due
Infection and Death Rates                                                            to a higher prevalence of underlying conditions such as
We find significant and expected associations between                                hypertension, diabetes, and obesity. They also may have
most socioeconomic factors and the COVID-19 infection                                less recourse to workplace policies that enable social
and mortality rates. Counties with a higher percentage                               distancing. There are multiple reasons for having lower
of Black population have significantly higher infection                              COVID-19 infection rates among counties with a higher
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percentage of educated individuals. In principle, workers       ordinary least squares regression in these sets of analy-
with higher education are less likely to rely on public         ses. The log-transformed version of the death rate is
transportation, more able to work remotely, and more            used as the dependent variable in our sensitivity analy-
likely to have a better understanding of the virus and          ses because the death rate is a more reliable measure of
take shelter-in-place restrictions seriously (Lowcock           COVID-19 incidence than is the infection rate, which
et al., 2012).                                                  varies differentially with the testing rate. The results are
      We also find that counties with a higher percentage       presented in Technical Appendix 4.
of the population over age 60 have higher mortality                   There are two takeaways from these sensitivity
rates. Indeed, this variable is the most significant pre-       tests. First, the results did not change with the exclusion
dictor of the mortality rate other than the infection rate      of New York City or New York State. Second, the results
itself. This may be due to their weaker immune systems          did not change with the changes in independent varia-
(K. Liu et al., 2020). In addition, counties with a higher      bles. One might ask why our findings are in disagree-
percentage of smokers have higher mortality rates from          ment with the very few existing analyses such as
COVID-19, at the .10 significance level. This is consistent     Wheaton and Thompson’s (2020) that show higher
with the existing research showing a history of smoking         density is associated with more COVID-19 deaths. The
is a predictor of COVID-19 severity in Chinese patients         reason is that this other study used the number of
(W. Liu et al., 2020). Most of the deaths associated with       deaths rather than the per capita death rate in their
COVID-19 are respiratory related.                               regression analyses. We obtained a result similar to
      As expected, the death rate significantly declines        theirs when we changed our dependent variable from a
with number of ICU beds per 10,000 population.                  per capita rate to total death counts. However, as
Counties with a higher number of ICU beds are less              Wheaton and Thompson (2020) conclude, the per cap-
likely to be overwhelmed by COVID-19 patients in need           ita rate is the best outcome variable for studying the
of intensive care. We find that counties with a higher          COVID-19 pandemic. In addition, we include many
percentage of residents staying at home have higher             more control variables than Wheaton and Thompson
infection and mortality rates. Considering that this is a       (2020) and use SEM rather than ordinary least squares
cross-sectional study, these findings are consistent with       regression, both of which represent refinements.
previous studies in the United States, Australia, the
United Kingdom, Canada, and Europe that find residents
in areas with more severe pandemics have higher per-            Concluding Remarks and Lessons
ceived susceptibility to contagious diseases such as
                                                                for Planners
SARS and swine flu and, in turn, show more precautious
                                                                The new coronavirus (COVID-19) is recognized as the
behaviors in adhering to social distancing recommenda-
                                                                most serious public health threat since the 1918 influenza
tions such as avoiding public gatherings, not making
                                                                pandemic, and the impacts of density on the COVID-19
nonessential trips, and avoiding public transit (Barr et al.,
                                                                pandemic are at the center of current dialogues in
2008; Blendon et al., 2004; Cava et al., 2005). Finally, the
                                                                PLANETNEW,2 public opinion, and planning practice.
statewide testing rate is the most significant predictor
                                                                News outlets blame density for the rapid spread of
of the county virus infection rate. This makes sense
                                                                COVID-19 in New York City and refer to suburban living
because estimates suggest that 25% to 50% of people
                                                                as the United States’ “secret weapon” against coronavirus
with COVID-19 are unaware they have the virus. Its high
                                                                (see, for example, Olsen, 2020; Rosenthal, 2020).
significance level may also be a result of treating coun-
                                                                Accordingly, the State of California’s pioneering statewide
ties in the same state as independent, when in fact they
                                                                plan for infill and transit-oriented housing development is
share the testing rate in this multilevel study.
                                                                increasingly criticized for potentially facilitating the spread
                                                                of future viruses (D. Kahn, 2020). These concerns and
Sensitivity Analyses                                            assumptions, in the absence of empirical evidence, would
Our most important finding is that density is unrelated         challenge the foundation of modern city planning: that
to confirmed virus infection rates and inversely related        density at least in some places is found to be a positive
to confirmed virus death rates, after controlling for other     counter to sprawl (see Park et al., 2020).
variables. This finding runs counter to the conventional              It is a general assumption that density is associated
wisdom and to the very few (unpublished) reports on             with higher rates of transmission, infection, and mortal-
this topic (Wheaton & Thompson, 2020). Therefore, we            ity from highly contagious diseases such as COVID-19
conducted two sets of sensitivity analyses, one with dif-       (Olsen, 2020; Rosenthal, 2020). Our national analysis of
ferent samples and the other one with different inde-           the relationship between density and the COVID-19
pendent variables, to test the reliability of our findings.     infection and mortality rates for 913 metropolitan coun-
For the sake of simplicity and familiarity, we used             ties in the United States suggests quite the opposite.
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      We are the first to admit that this study is the first            The fact that density is unrelated to confirmed virus
word, not the last, on the relationship between urban              infection rates and inversely related to confirmed virus
form and the COVID-19 virus. Many will follow later in             death rates is important, unexpected, and profound. It
the course of the pandemic when more definitive                    has implications for community design, regional plan-
results are possible. Many will be longitudinal, which             ning, transportation expenditures, urban redevelop-
will permit stronger statements of causality than does             ment, tax policy, congestion pricing, smart growth,
this cross-sectional study. Some may be at smaller geo-            affordable housing, and nearly every other front-burner
graphic scales, which will allow planners to reach con-            issue important to planners. It counters a narrative that,
clusions about neighborhood design (as they have in                absent data and analysis, would challenge the founda-
connection with physical activity and obesity).                    tion of modern city planning that density at least in
      In this early and preliminary study, we find that dens-      some places (urban and suburban centers) is a positive
ity is not linked to rates of COVID-19 infection, after con-       counter to sprawl (Park et al., 2020).
trolling for metropolitan area population, socioeconomics,              The role of planners and local governments in
and health care infrastructure in U.S. counties. Surprisingly,     addressing pandemic outbreaks is crucial, but not
we find that COVID-19 death rates are lower in denser              through advocating for the low density and suburban
counties and higher in less dense counties, at a high level        types of development. Rather, planners and local govern-
of statistical significance. This is likely due to better access   ments play a key role in adopting measures tailored to
to health care facilities and easier management of social          their community for more effective implementation of
distancing interventions such as sheltering in place.              social distancing measures and to mitigate the adverse
      On the other hand, we find metropolitan popula-
                                                                   impacts on businesses, households, and citizens.
tion to have the third most significant relationship to
COVID-19 death rates. These findings suggest that con-             ABOUT THE AUTHORS
nectivity between counties matters more than county                SHIMA HAMIDI (shamidi2@jhu.edu) is Bloomberg assistant
density for pandemic spread and lethality. The more                professor of public health in the Bloomberg School of Public
connected the places (either compact or sprawling) in              Health at Johns Hopkins University. SADEGH SABOURI
large metropolitan areas are, the harder they are hit by           (Sadegh.Sabouri@utah.edu) is a PhD student in the
the pandemic. It could start with the major urban core             Department of City and Metropolitan Planning at the
and eventually spread to lower density suburban and                University of Utah. REID EWING (ewing@arch.utah.edu) is dis-
                                                                   tinguished professor of city and metropolitan planning at the
rural areas. No place is immune from the spread, and if
                                                                   University of Utah.
we look at the rates rather than counts during the 1918
pandemic, rural/low-density areas were hit harder than
cities (Parmet & Rothstein, 2018).
      The fact that connectivity is a significant predictor of     ORCID
COVID-19 infection and death rates calls for more in-depth         Shima Hamidi    http://orcid.org/0000-0001-6717-5700
                                                                   Sadegh Sabouri    http://orcid.org/0000-0003-1130-9719
research on measuring urban connectivity and its impact
                                                                   Reid Ewing   http://orcid.org/0000-0002-4117-3456
on pandemic spread. Future studies could contribute to
the conversation by developing and using more sophisti-
cated measures of internal connectivity, such as location-         RESEARCH SUPPORT
based social networks (Andris, 2016). In fact, the degree of       This research was supported by the Bloomberg American
contact tracing that some countries are currently undertak-        Health Initiative at the Johns Hopkins Bloomberg School of
ing could eventually result in more reliable and valid data        Public Health.
and provide opportunities for developing regional con-
nectivity measures at the time of a pandemic.
      Our study suggests that the planner’s role in address-       SUPPLEMENTAL MATERIAL
ing the pandemic crisis is not necessarily through a               Supplemental data for this article can be found on the
                                                                   publisher’s website.
change in paradigm because we find no evidence that
sprawling areas are more immune to the pandemic or
that sprawling areas experience lower death rates. Indeed,         NOTES
we find that pandemics are deadlier in low-density areas           1. Viruses, and the diseases they cause, may have different
that have less access to quality health care. Our findings         names. For example, HIV is the virus that causes the disease AIDS.
suggest that planners should continue to practice and              People often know the name of a disease, such as measles, but
advocate for compact places rather than sprawling ones             not the name of the virus that causes it (rubeola). Here we use
due to several environmental, transportation, health, and          the same name for both virus and disease (WHO, 2019).
economic benefits of compact development confirmed                 2. PLANETNEW is a closed Google listserv shared by planning
by dozens of empirical studies.                                    faculty in the U.S and internationally.
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